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                              UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,
                                                       Case No. 19cr3068-MSB

                                      Plaintiff,
                      vs.
                                                       JUDGMENT OF DISMISSAL
Joel Anival Lopez,


                                    Defendant.



IT APPEARING that the defendant is now entitled to be discharged for the reason that:

      an indictment has been filed in another case against the defendant and the Court has
☐
      granted the motion of the Government for dismissal of this case, without prejudice; or
☐     the Court has dismissed the case for unnecessary delay; or

☒     the Court has granted the motion of the Government for dismissal, without prejudice; or

☐     the Court has granted the motion of the defendant for a judgment of acquittal; or

☐     a jury has been waived, and the Court has found the defendant not guilty; or

☐     the jury has returned its verdict, finding the defendant not guilty;

☐     of the offense(s) as charged in the Indictment/Information:




Dated: 9/25/2020
                                                   Hon. Michael S. Berg
                                                   United States District Judge
